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                                     UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF COLORADO

 IN RE:                                                                  CASE NO. 17-16886-TBM
 SCOTT, GREGORY DWAYNE

 SCOTT, CONSTANCE LORRAINE                                               CHAPTER 13

                   DEBTOR(S)


                                 CHAPTER 13 TRUSTEE'S MOTION TO DISMISS


 The Standing Chapter 13 Trustee moves to dismiss the case based on the following:

 1.   The Debtor(s) failed to make the payments required by the Plan .

          A. The Plan and/or current modified Plan requires the Debtor (s) to pay the current sum of $1,834.00 per
             month.

          B. The total paid into the Plan through March 28 , 2019 is $24,097.00, the last payment having been
             received by the Trustee on December 31 , 2018.

          C. Payment of $5,803.00 is required to be current through March 28 , 2019.

 2. The Debtor(s) failure to comply with the requirements for relief under Chapter 13 , Title 11, United States Code
    is prejudicial to creditors.

      WHEREFORE, the Trustee requests that this case be dismissed pursuant to 11 U.S.C. § 1307.




 Dated: March 28, 2019                                          By: /s/ Karen Perse
                                                                        Karen Perse
                                                                        for DOUGLAS B. KIEL, CHAPTER 13
                                                                TRUSTEE
                                                                7100 E BELLEVIEW AVE SUITE 300
                                                                GREENWOOD VILLAGE, CO 80111
                                                                (720) 398-4444
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                                      UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF COLORADO

 IN RE:                                                                   CASE NO. 17-16886-TBM
 SCOTT, GREGORY DWAYNE

 SCOTT, CONSTANCE LORRAINE                                                CHAPTER 13

                   DEBTOR(S)


                          NOTICE OF CHAPTER 13 TRUSTEE'S MOTION TO DISMISS



                                OBJECTION DEADLINE: April 18, 2019
 YOU ARE HEREBY NOTIFIED that Douglas B. Kiel, Chapter 13 Trustee, has filed a Chapter 13
 Trustee’s Motion to Dismiss with the bankruptcy court and requests the following relief:

                          Trustee seeks dismissal of the Chapter 13 case due to non-payment .

 If you oppose the motion or object to the requested relief your objection and request for hearing must be filed on or
 before the objection deadline stated above , served on the movant at the address indicated below , and must state
 clearly all objections and any legal basis for the objections . The court will not consider general objections .

 In the absence of a timely, substantiated objection and request for hearing by an interested party , the court may
 approve or grant the requested relief without any further notice to creditors or other interested parties .




 DATED: March 28, 2019                                           By: /s/ Karen Perse
                                                                         Karen Perse
                                                                         for DOUGLAS B. KIEL, CHAPTER 13
                                                                 TRUSTEE
                                                                 7100 E BELLEVIEW AVE SUITE 300
                                                                 GREENWOOD VILLAGE, CO 80111
                                                                 (720) 398-4444
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                                     UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF COLORADO

 IN RE:                                                                  CASE NO. 17-16886-TBM
 SCOTT, GREGORY DWAYNE

 SCOTT, CONSTANCE LORRAINE                                               CHAPTER 13

                   DEBTOR(S)


                                            CERTIFICATE OF SERVICE


 I hereby certify that a copy of the Chapter 13 Trustee’s Motion to Dismiss , and Notice of Chapter 13 Trustee’s
 Motion to Dismiss was placed in the U.S. Mail, postage pre-paid, on March 28, 2019.

 BUECHLER & GARBER LLC                                   COMENITY CAPITAL BANK/PAYPAL CREDIT
 KENNETH J BUECHLER ESQ                                  C/O WEINSTEIN & RILEY PS
 999 18TH STREET SUITE 1230-S                            PO BOX 3978
 DENVER, CO 80202                                        SEATTLE, WA 98124-3978
 GREGORY DWAYNE SCOTT                                    PORTFOLIO RECOVERY ASSOCIATES LLC
 CONSTANCE LORRAINE SCOTT                                PRA RECEIVABLES MANAGEMENT
 5417 S 5.4 RD                                           LLC/AGENT
 ALAMOSA, CO 81101                                       PO BOX 12914
                                                         NORFOLK, VA 23541
 SYNCHRONY BANK
 C/O PRA RECEIVABLES MANAGEMENT LLC
 PO BOX 41021
 NORFOLK, VA 23541


 Notice by Electronic Transmission was sent to the following persons/parties:
 THE CROSS LAW FIRM


 DATED: March 28, 2019                                          /s/ Janice LeGros
                                                                    Janice LeGros
